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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                               )
DONALD J. TRUMP FOR PRESIDENT,                 )
INC., et al.,                                  )
                                               )
                      Plaintiffs,              )
                                               )
       v.                                      ) Civil Action No. 2:20-cv-00966-NR
                                               )
KATHY BOOCKVAR, in her capacity as             ) Judge J. Nicholas Ranjan
Secretary of the Commonwealth of               )
Pennsylvania, et al.,                          )
                                               )
                      Defendants.              )
                                               )

            SECRETARY OF THE COMMONWEALTH KATHY BOOCKVAR’S
             NOTICE OF FILING IN SUPREME COURT OF PENNSYLVANIA


       As the Court is aware from numerous filings this week, on October 4, 2020, Secretary of

the Commonwealth Kathy Boockvar filed a King’s Bench Application with the Pennsylvania

Supreme Court to obtain a final ruling regarding whether 1) the Pennsylvania Election Code

requires or permits county election officials to reject mail-in and absentee ballots based on

subjective signature comparisons; and 2) whether the Code permits third parties to challenge

absentee and mail-in ballots (and the applications for those ballots) based on signature

comparisons. See Secy.’s Suppl. App. Ex. 38 (ECF No. 557-1). The Pennsylvania Supreme Court

subsequently requested that any responsive to the Secretary’s application by Noon on October 7,

see ECF No. 569, and certain Plaintiffs in the present case (including Donald J. Trump for

President, Inc. and the Republican National Committee) moved to intervene and filed an Answer

to the Secretary’s application on that date. See ECF No. 571.

       Yesterday, October 8, the Secretary filed her response. As relevant here, the Secretary did

not oppose Plaintiffs’ intervention request in the Pennsylvania Supreme Court, but reiterated her
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request that the Commonwealth’s highest court provide clarity regarding the important state

Election Code provisions at issue. See Ex. A, Oct. 8, 2020, Secretary’s Answer to Applications

for Leave to Intervene, In re Nov. 3, 2020 Gen. Election, No. 149 MM 2020.




 Dated: October 9, 2020                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 9, 2020, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties who have appeared in this action via the Court’s

electronic filing system. Parties may access this filing through the Court’s system.



                                                /s/ Daniel T. Donovan
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